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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

YIFAN SHEN, et al.,
            Plaintiffs,
v.                                             Case No. 4:23-cv-208-AW-MAF
WILTON SIMPSON, etc., et al.,
             Defendants.


     PLAINTIFFS’ RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff Multi-Choice

Realty, LLC states that it has no parent corporation or any other publicly held

corporation owning 10% or more of its stock.


Respectfully submitted this 22nd day of May, 2023,

/s/ Nicholas L.V. Warren

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            * Motion for leave to appear pro hac vice forthcoming




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